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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES oF AMERICA, er al.,
Plaintiffs, '

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)
)
V. ) - Civil Case No. 18-2340 (RJL)
. )
CVS HEALTH CORPORATION, et al., )

)

)

Defendants. '
MEMORANDI-i;/I\`ORDER
` January L, 2019

'This case is a civil antitrust action, brought by the United States of America
(“the Government”) and the States of California, Florida, HaWaii, Mississippi, and
Washington to challenge the merger of CVS _Health Corporation (“CVS”) and
Aetna Inc. (“Aetna”). The parties have agreed to settle the suit through entry of a
consent judgment That proposed judgment, however, cannot be entered until the
Government completes certain procedures required by the Tunney Act, 15 U.S.C.
§ lo(b)~(h), and l determine that their proposed judgment is in the public interest.
The procedural requirements in the Tunney Act Will not be complete, and this case
cannot proceed, until the Government: (l) responds to any comments it has
received from members of the public about its proposed consent judgment; and (2)
files both the public comments and its response to the comments With this Court.

See id. § l6(b), (d), (t`)(4). lndeed, the Government informed me at a December

18, 2018 hearing in this case that it Was “plan[ning] to Work through those

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comments very quickly[] and . hope[d] to have a response to [me] by early
February, ifpossible.” Dec. 18, 20l8 Hr’g Tr. 1516-8 [Dkt. # 4()].

The Government now reports that its plans have changed due to the current
appropriations impasse that has resulted in a partial Government shutdown. See
Status Report on the United States’ Response to Public Comments (“Status
Report”) at l [Dkt. # 47].' To that effect, the Government filed a Status Report on
January 8, 2019, informing me that “the Antitrust Division cannot work on its
response to public comments at this time[] and . . . will not be able to do so until
funding is restored by Congress, see 31 U.S.C. l§ 1342, unless otherwise ordered
by the Court.” Id. (emphases added).

To say the least, this pronoucement was surprising given the Government’s
earlier arguments to me that slowing implementation of the CVS-Aetna merger
could “delay any efficiencies that might result from the transaction” and “create
uncertainty for customers, employers, and shareholders.” United States’ Response
to Order to Show Cause at ll [Dl<t. # 32]. Indeed, the public interest would seem
to require more than the indefinite stay of the proceedings the Government is
effectively seeking After all, the sixty-nine billion dollar merger at issue in this
case involves “one of the largest companies in the United States” acquiring “the
nation’s third-largest health insurance company¢” Compl. 111 15-17 [Dkt. # l]. lf
the merger will truly bring the benefits and efficiencies to the healthcare system
the Government claims it will, staying it because of this unfortunate funding

impasse would be unwarranted and could have far-reaching consequences in

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markets that affect consumers’ health and well-being. In short, the Government’s
internal, political squ“abble over funding is NU reason to postpone the
congressionally mandated evaluation of the Government’s proposal to remedy the
antitrust concerns allegedly raised by the merger’s consummation l

Accordingly, l will treat the Government’s Status Report as a motion to
stay these proceedings, deny that motion, and order the Government to continue
reviewing and responding to the public comments. See Status Report at l (“[T]he
Antitrust'Division cannot work on its response to public comments . . . unless
otherwise ordered by the Court.”); U.S. Dep’t of Justice, FY 2019 Contingency
Plan at 3 (Sept. ll, 2018), https://www.justice.gov/jmd/page/file
/lOlS676/download (“If a court denies . .. a request [to postpone a case] and
orders a case to continue, the Government will comply with the court’s order,
which would constitute express legal authorization for the activity to continue.”).
l expect the Government attorneys working on this case to roll up their sleeves,
respond to the public’s concerns about the CV`S-Aetna merger, and file the
comments received from members of the publicland‘ the Government’s response to
those comments with this Court by the 15th of February.

F or the foregoing reasons, it is hereby

ORDERED that the Government’s Status Report [Dkt. #47] shall be
treated as a motion to stay these proceedings and that the motion is DENIED; it is
further

ORDERED that the Government shall continue reviewing and responding

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to public comments related to this matter; and it is further

ORDERED that, on or before February 1_5, 2019, the Government shall file _
with this Court the public comments related to this matter and the Government’s
response to those comments.

SO ORDERED.

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RICHARDQ§EON
United States istrict Judge

